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Attorneys for Defendant,
PROMETRIC INC.,, a Delaware corporation

IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
BRIAN PETRIE, an individual, Case No. 8:15-cv-00798-DOC-JC
Plaintiff,

DEFENDANT PROMETRIC INC.’S

Vv. ANSWER TO PLAINTIFF’S FIRST
AMENDED COMPLAINT

PROMETRIC INC., a Delaware

corporation; NATIONAL BOARD OF

MEDICAL EXAMINERS, a

Pennsylvania non-profit corporation; and

DOES 1-10, inclusive,

Defendants.

 

Defendant Prometric Inc. (“Prometric”), through its undersigned counsel,
responds as follows to Plaintiff Brian Petrie’s First Amended Complaint for
Damages, Declaratory Relief and Injunctive Relief (filed on January 13, 2016) (“First
Amended Complaint”), and admits, denies, and alleges using the same paragraph
numbering and headings that are found in the First Amended Complaint as follows:

INTRODUCTION

1. Prometric lacks knowledge or information sufficient to form a belief as
to the truth of the allegations in Paragraph 1 of the First Amended Complaint and,
therefore, denies the allegations of Paragraph 1.

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DEFENDANT PROMETRIC INC,’S ANSWER TO PLAINTIFF'S FIRST AMENDED COMPLAENT

 

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2. Prometric lacks knowledge or information sufficient to form a belief as
to the truth of the allegations in the first sentence Paragraph 2 of the First Amended:
Complaint and, therefore, denies those allegations. Prometric admits that it
administered the U. $. Medical Licensing Examination (“USMLE”) on behalf of the
National Board of Medical Examiners (“NBME”). Prometric lacks knowledge or
information sufficient to form a belief as to the truth of the remaining allegations in
the second sentence Paragraph 2 of the First Amended Complaint and, therefore,
denies those allegations.

3, Prometric denies the allegations of Paragraph 3 to the extent that they:
involve Prometric. Prometric lacks knowledge or information sufficient to form al
belief as to the truth of the allegations in Paragraph 3 to the extent that they involve
other parties and, therefore, denies those allegations.

4, Prometric denies the allegations of Paragraph 4 to the extent that they
involve Prometric. Prometric lacks knowledge or information sufficient to form a
belief as to the truth of the allegations in Paragraph 4 to the extent that they involve
other parties and, therefore, denies those allegations.

>. Prometric denies the allegations of Paragraph 5 to the extent that they
involve Prometric. Prometric lacks knowledge or information sufficient to form a
belief as to the truth of the allegations in Paragraph 5 to the extent that they involve
other parties and, therefore, denies those allegations.

6. Paragraph 6 contains legal conclusions to which no response is requited
by Prometric, Prometric denies the remaining allegations of Paragraph 6 to the extent
that they involve Prometric. Prometric lacks knowledge or information sufficient to
form a belief as to the truth of the allegations in Paragraph 6 to the extent that they
involve other parties and, therefore, denies those allegations.

7, Prometric lacks knowledge or information sufficient to form a belief as
to the truth of the allegations in Paragraph 7 and, therefore, denies those allegations.
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DEFENDANT PROMETRIC INC.’S ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT

 

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8. Paragraph 8 describes plaintiffs judicial First Amended Complaint, a
document that speaks for itself, and no response is required. Paragraph 8 otherwise
contains legal conclusions to which no response is required by Prometric. Prometric
denies that there have been any violations of the Americans with Disabilities Act
(“ADA”) and the Unruh Civil Rights Act (“Unruh Act”) by any defendant, denies
that plaintiff asserted any viable common law claims against any defendant, and
denies that plaintiff is entitled to any relief whatsoever in this action.

9. Paragraph 9 describes the damages sought by plaintiff in plaintiffs
judicial First Amended Complaint, a document that speaks for itself, and no response
is required. Paragraph 9 otherwise contains legal conclusions to which no response is
required by Prometric. Prometric denies that plaintiff is entitled to any relief
whatsoever in this action, from any defendant.

JURISDICTION AND VENUE

10. Prometric admits that plaintiff’s claims include a claim under the ADA,

 

and that the Court has jurisdiction over First Amended Complaint asserting such
federal claims pursuant to 28 U.S.C. § 1331 to the extent that such claims present a
live case or controversy for which relief is available from the Court. Prometric denies
that there is any live case or controversy between Prometric and plaintiff, however,
with respect to his claim under Title I of the ADA, and further denies that plaintiff
has asserted a viable ADA claim against Prometric, Prometric admits that the Court
has supplemental jurisdiction over plaintiff's state law claims pursuant to 28 U.S.C. §
1367(a), based upon his assertion of a claim under federal law. Prometric denies that
jurisdiction is conferred upon the Court by 28 U.S.C. §§ 2201 or 2202.

li. Prometric admits that venue is proper in the Central District of
California under 28 U.S.C. § 1391(b).

PARTIES
12. Paragraph 12 contains legal conclusions to which no response is

required by Prometric. Prometric denies the remaining allegations of Paragraph 12 as

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DEFENDANT PROMETRIC INC.’S ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT

 

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Prometric lacks knowledge or information sufficient to form a belief as to the truth of
the allegations in Paragraph 12 and, therefore, denies those allegations.

13. Prometric admits that Prometric is a Delaware corporation
headquartered in Baltimore, Maryland, and that Prometric has contracted with
Defendant National Board of Medical Examiners (“NBME”) to administer computer-
based USMLE Step examinations in California and other locations. Prometric denies
the remaining allegations in Paragraph 13 of the First Amended Complaint.

14. Prometric lacks knowledge or information sufficient to form a belief as
to the truth of the allegations in Paragraph 14 and, therefore, denies those allegations.

15. The allegations in Paragraph 15 of the First Amended Complaint do not
call for a response from Prometric. To the extent that a response is required,
Prometric states that it lacks knowledge or information sufficient to form a belief as
to the truth of the allegations in Paragraph 15 and, therefore, denies those allegations.
Prometric further denies that any DOE defendant has violated any law for which
plaintiff is entitled to relief.

16. Prometric denies the allegations in Paragraph 16 of the First Amended
Complaint.

17. Prometric denies the allegations in Paragraph 17 of the First Amended
Complaint.

FIRST CLAIM FOR RELIEF
TITLE II OF THE AMERICANS WITH DISABILITIES ACT
18. The allegations in Paragraph 18 of the First Amended Complaint do not

 

call for a response from Prometric. To the extent that a response is required,
Prometric incorporates by reference its response to all previous paragraphs (1-17) of
the First Amended Complaint as though fully set forth herein.

19, Paragraph 19 describes the Americans with Disabilities Act, which
speaks for itself, and no response is required by Prometric. To the extent that

Paragraph 19 attempts to describe Congress’s intent in creating the Americans with

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DEFENDANT PROMETRIC INC.’S ANSWER TO PLAINTIFF'S FIRST AMENDED COMPLAINT

 

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Disabilities Act, that legislative history speaks for itself, and no response is required
by Prometric,

20. Paragraph 20 describes the Americans with Disabilities Act, which
speaks for itself, and no response is required by Prometric. To the extent that
Paragraph 20 attempts to describe Congress’s intent in creating the Americans with
Disabilities Act, that legislative history speaks for itself, and no response is required
by Prometric.

21. Paragraph 21 describes Title III of the Americans with Disabilities Act,
which speaks for itself, and no response is required by Prometric. To the extent that a
response is required, Prometric states that the language of the Americans with
Disabilities Act speaks for itself.

22. Paragraph 22 describes the Americans with Disabilities Act, which
speaks for itself, and no response is required by Prometric. To the extent that a
response is required, Prometric states that the language of the Americans with
Disabilities Act speaks for itself.

23. Paragraph 23 describes the Americans with Disabilities Act, which
speaks for itself, and no response is required by Prometric. To the extent that a
response is required, Prometric states that the language of the Americans with
Disabilities Act speaks for itself,

24, Paragraph 24 describes the Americans with Disabilities Act, which
speaks for itself, and no response is required by Prometric. To the extent that a
response is required, Prometric states that the language of the Americans with
Disabilities Act speaks for itself.

25, Paragraph 25 describes the federal regulations implementing Title III off
the Americans with Disabilities Act, which speaks for itself, and no response is
required by Prometric. To the extent that a response is required, Prometric states that
the language of the Americans with Disabilities Act speaks for itself.

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26. Paragraph 26 contains legal conclusions to which no response is
required by Prometric. To the extent that a response is required, Prometric states that
it lacks knowledge or information sufficient to form a belief as to the truth of the
allegations in Paragraph 26 and, therefore, denies those allegations.

27. Prometric denies the allegations in Paragraph 27 of the First Amended
Complaint.

28. Prometric denies the allegations in Paragraph 28 of the First Amended
Complaint.

29, Prometric denies the allegations in Paragraph 29 of the First Amended
Complaint.

30. Paragraph 30 contains legal conclusions to which no response is
required by Prometric. To the extent that a response is required, Prometric denies the
allegations in Paragraph 30 of the First Amended Complaint as stated by the plaintiff.

SECOND CLAIM FOR RELIEF
UNRUH CIVIL RIGHTS ACT

31. The allegations in Paragraph 31 of the First Amended Complaint do not
call for a response from Prometric. To the extent that a response is required,
Prometric incorporates by reference its response to ail previous paragraphs (1-30) off
the First Amended Complaint as though fully set forth herein,

32. The allegations in Paragraph 32 of the First Amended Complaint do not
call for a response from Prometric. To the extent that a response is required,
Prometric states that the language of the Unruh Act speaks for itself.

33. The allegations in Paragraph 33 of the First Amended Complaint do not
call for a response from Prometric. To the extent that a response is required,
Prometric states that the language of the Unruh Act speaks for itself.

34. Paragraph 34 states a legal conclusion to which no response is required
by Prometric. To the extent that a response is required, Prometric states that it lacks

knowledge or information sufficient to form a belief as to the truth of the allegations

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in Paragraph 34 and, therefore, denies those allegations.

35. Paragraph 35 states a legal conclusion to which no response is required
by Prometric. To the extent that a response is required, Prometric denies the
allegation in Paragraph 35,

36. Prometric denies the allegations in Paragraph 36 of the First Amended
Complaint.

37. Prometric denies the allegations in Paragraph 37 of the First Amended
Complaint.

THIRD CLAIM FOR RELIEF
NEGLIGENCE

38. The allegations in Paragraph 38 of the First Amended Complaint do not
call for a response from Prometric. To the extent that a response is required,
Prometric incorporates by reference its response to all previous paragraphs (1-37) off
the First Amended Complaint as though fully set forth herein.

39, Prometric denies the allegations in Paragraph 39 of the First Amended
Complaint.

40. Prometric denies the allegations in Paragraph 40 of the First Amended
Complaint.

41, Prometric denies the allegations in Paragraph 41 of the First Amended
Complaint,

42. Prometric denies the allegations in Paragraph 42 of the First Amended
Complaint.

FOURTH CLAIM FOR RELIEF
NEGLIGENT SUPERVISION
43. The allegations in Paragraph 43 of the First Amended Complaint do not

 

call for a response from Prometric. To the extent that a response is required,
Prometric incorporates by reference its response to all previous paragraphs (1-42) of

the First Amended Complaint as though fully set forth herein.

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44, Prometric denies the allegations in Paragraph 44 of the First Amended
Complaint.

45. Prometric denies the allegations in Paragraph 45 of the First Amended
Complaint.

46, Prometric denies the allegations in Paragraph 46 of the First Amended
Complaint.

47, Prometric denies the allegations in Paragraph 47 of the First Amended
Complaint.

FIFTH CLAIM FOR RELIEF
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

48. The allegations in Paragraph 48 of the First Amended Complaint do not
call for a response from Prometric. To the extent that a response is required,
Prometric incorporates by reference its response to all previous paragraphs (1-47) off
the First Amended Complaint as though fully set forth herein.

49, Prometric denies the allegations in Paragraph 49 of the First Amended
Complaint.

50. Prometric denies the allegations in Paragraph 50 of the First Amended
Complaint.

51. Prometric denies the allegations in Paragraph 51 of the First Amended
Complaint.

52. Prometric denies the allegations in Paragraph 52 of the First Amended
Complaint.

PRAYER FOR RELIEF

 

The remaining allegations of Plaintiff First Amended Complaint contain a
prayer for relief to which no answer is required, but to the extent that one may be
deemed necessary, Prometric denies that plaintiff has been damaged in a manner
which would entitle plaintiff to any of the relief sought therein, and further denies

that plaintiff is entitled to the requested relief, or to any relief whatsoever, as against

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DEFENDANT PROMETRIC INC.’S ANSWER TO PLAINTIFF'S FIRST AMENDED COMPLAINT
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Prometric or any other defendant named in the First Amended Complaint.
DEMAND FOR JURY TRIAL
Prometric hereby demands trial by jury.
GENERAL DENIAL
Prometric denies all allegations in the First Amended Complaint that are not
expressly admitted herein.
PROMETRIC’S AFFIRMATIVE DEFENSES

1. Plaintiff's First Amended Complaint, and every cause of action therein,

 

fails to state a claim upon which relief may be granted.
2. Prometric has caused no damage or injury as alleged by plaintiff, and
plaintiff's theory of causation is too speculative to permit any recovery.
3. Plaintiff failed to mitigate his alleged damages, thereby causing and

contributing to the injuries alleged.

4, Some or all of plaintiff's claimed damages are too speculative to be
recoverable.
5. Prometric is not liable, if at all, to the extent that Plaintiffs injuries were

caused or aggravated, in whole or in part, by his own acts or omissions.

6. ‘To the extent that any damages are otherwise recoverable by plaintiff
under his third and fourth claims for relief, which Prometric denies, those damages
are barred, or must be reduced, by plaintiff's contributory or comparative negligence,
fault, and want of due care.

7. Plaintiff's tort claims are barred, in whole or in part, by the economic
loss rule/doctrine.

8. Prometric is not liable to Plaintiff for the acts or omissions of other
parties.

9. Plaintiffs claims are barred, in whole or in part, by the doctrine off
laches because of plaintiff's delay in filing his lawsuit and the attendant prejudice

caused to Prometric, including the unavailability of potentially relevant evidence.

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10. The Court lacks subject matter jurisdiction over plaintiff's ADA claim
on the grounds of mootness.

11. The Court lacks subject matter jurisdiction over plaintiff's tort claims on!
the grounds of ripeness.

12. Prometric presently has insufficient knowledge or information on which
to form a belief as to whether it has additional affirmative defenses available.
Accordingly, Prometric reserves the right to plead such additional defenses in the
event that discovery or further analysis indicates that additional unknown or unstated
affirmative defenses are applicable.

PRAYER

Wherefore, Prometric prays as follows:

1. That all relief requested in plaintiffs First Amended Complaint be
denied, and that judgment be entered in favor of Prometric, dismissing all claims with
prejudice;

2. That the Court award Prometric its costs incurred in defense of this
action, including attorneys’ fees, to the extent that such fees may be recoverable; and

3. That the Court grant Prometric such other and further relief as it may
deem just and proper,

Respectfully submitted,

Dated: January 20, 2016 WILSON, ELSER, MOSKOWITZ,
EDELMAN & DICKER LLP

By: /s/ David S. Eisen
David S. Eisen
Josephine C. Lee-Nozaki
Attorneys for Defendant
PROMETRIC INC.

 

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DEFENDANT PROMETRIC INC.’S ANSWER TO PLAINTIFF'S FIRST AMENDED COMPLAINT
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PROOF OF SERVICE
I, Lori McCartan, declare

_. Lama citizen of the United States and employed in Los Angeles County,
California. I am over the age of eighteen years and not a party to the within-entiled
action. M business address is 555 South Flower Street, Suite 2900, Los Angeles,

On January 20, 2016, I electronically filed the attached document(s):
DEFENDANT PROMETRIC INC,’S ANSWER TO PLAINTIFEF’S FIRST
AMENDED COMPLAINT with the Clerk of the court using the CM/ECF system which will
then send a notification of such filing to the following:

 

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Attorneys for Plaintiff NATIONAL BOARD OF MEDICAL EXAMINERS

 

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I declare that i am employed in the office of a member of the bar of this court at whose
direction the service was made.

Executed on January 20, 2016, at Los Angeles, California,

/sf Lori McCartan

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DEFENDANT PROMETRIC INC.'S ANSWER TO PLAINTIFF'S FIRST AMENDED COMPLAINT
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